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11
                               UNITED STATES DISTRICT COURT

12                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE
13
     STEVEN HO,                                      AT LAW AND IN ADMIRALTY
14
                              Plaintiff,             Case no:
15

16
            v.                                       SEAMAN’S COMPLAINT
                                                     FOR PERSONAL INJURIES
17   ARCTIC STORM MANAGEMENT
     GROUP, LLC and ARCTIC FJORD, INC.,              JURY DEMAND
18

19
                             Defendants.

20

21          Plaintiff Steven Ho (“Plaintiff”), by and through the undersigned counsel, alleges

22   as follows:
23
                                    GENERAL ALLEGATIONS
24

25
            1.      Plaintiff is a seaman and brings this action pursuant to the provisions of 28

26   U.S.C. §1916 without prepayment of fees and costs and without deposit of security
27
     therefor.
28
     SEAMAN’S COMPLAINT                                             ANDERSON CAREY
     FOR PERSONAL INJURIES                                        WILLIAMS & NEIDZWSKI
                                                                    21 Bellwether Way, Suite 104
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1           2.      This action is brought under the admiralty and maritime law as modified by
2
     the Jones Act, 46 U.S.C. § 30104. This District Court has jurisdiction pursuant to 46
3
     U.S.C. §30104 and 28 U.S.C. §1333.
4

5           3.      At all times mentioned herein, defendant Arctic Storm Management Group,
6
     LLC (“ASMG”) was and now is a Washington limited liability company doing business
7
     in Washington, having its principal place of business in Seattle, King County,
8

9    Washington.
10
            4.      At all times mentioned herein, defendant Arctic Fjord, Inc. was and now is
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     a Washington corporation doing business in Washington, having its principal place of
12

13   business in Seattle, King County, Washington.

14          5.      At all times mentioned herein, the C/P ARCTIC FJORD, No. 940866
15
     (“vessel”), was an American flag vessel operating upon the navigable waters of the
16

17
     United States and high seas.

18          6.      At all times mentioned herein, Defendants owned, manned, operated,
19
     maintained and/or controlled the vessel.
20
            7.      At all times mentioned herein, specifically including October 16, 2018,
21

22   defendants employed Plaintiff as a Jones Act seaman and member of the crew in the
23
     service of the vessel.
24
                                        FIRST CLAIM:
25                                  JONES ACT NEGLIGENCE
26
            8.      Plaintiff realleges and incorporates herein by reference paragraphs 1
27

28
     through 7 set forth above.
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1           9.       Plaintiff alleges upon information and belief, that on or about October 16,
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     2018, while Plaintiff was engaged in the course of his duties in the service of the vessel,
3
     Defendants was negligent in, among other things:
4

5                   (a) causing, allowing, and permitting the vessel and her
6
                    appurtenances to be operated in such a manner as to
7
                    unreasonably endanger Plaintiff's safety;
8

9                   (b) causing, allowing, and permitting the vessel and her
10
                    appurtenances, including factory freezers, to be in a dangerous, defective
11
                    and hazardous condition;
12

13                  (c) failing to warn Plaintiff of impending dangers;

14                  (d) failing to provide a seaworthy vessel and a safe method of
15
                    operation;
16

17
                    (e) failing to provide Plaintiff with a safe place in which to work;

18                  (f) failing to promulgate and enforce proper and safe rules of
19
                    seamanship in the supervision and conduct of the work;
20
                    (g) failing to provide sufficient and competent officers and co-employees,
21

22                  particularly after Plaintiff requested assistance;
23
                    (h) failing to supply proper gear and equipment, and to inspect and
24
                    maintain the same in proper order;
25

26                  (i) failing to prevent excess ice accumulation on the factory freezers;

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1                  (j) improperly requiring plaintiff to lift freezer pans repeatedly without
2
                   proper equipment, method, and/or assistance;
3
     and otherwise acted so negligently as to cumulatively and acutely cause Plaintiff to
4

5    sustain injuries, inter alia, to his right shoulder and biceps while dislodging pans frozen
6
     to the factory freezers.
7
            10.    As a result of said breaches of Defendants’ duties, Plaintiff was hurt and
8

9    injured in his health, strength, and activity, sustaining injury to his body and shock and
10
     injury to his nervous system and person, all of which said injuries have caused and
11
     continue to cause Plaintiff great mental, physical and nervous pain and suffering, and
12

13   Plaintiff alleges upon information and belief that said injuries will result in some

14   permanent disability to Plaintiff, all to his general damage according to proof.
15
            11.    As a further result of said breaches of Defendants’ duties, Plaintiff was
16

17
     required to and did employ physicians and other health care providers for medical

18   examination, care and treatment of said injuries, and Plaintiff alleges upon information
19
     and belief that he may require such services in the future. The cost and reasonable value
20
     of the health care services received and to be received by Plaintiff is presently unknown
21

22   to him, and Plaintiff prays leave to insert the elements of damages in this respect when
23
     the same are finally determined.
24
            12.    As a further result of said breaches of Defendants’ duties, Plaintiff has
25

26   suffered and will continue in the future to suffer loss of income in a presently

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1    unascertained sum, and Plaintiff prays leave to insert the elements of damage in this
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     respect when the same are finally determined.
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                                        SECOND CLAIM:
                                       UNSEAWORTHINESS
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               13.   Plaintiff realleges and incorporates herein by reference paragraphs 1
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7    through 12 set forth above.
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               14.   On or about October 16, 2018, while Plaintiff was engaged in the course of
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     his duties in the service of the vessel, the vessel was unseaworthy in that, among other
10

11   things:

12                   (a) the vessel and her appurtenances were being operated in such
13
                     a manner as to unreasonably endanger Plaintiff's safety;
14

15
                     (b) the vessel and her appurtenances were in a dangerous,

16                   defective and hazardous condition;
17
                     (c) the place where Plaintiff was required to work was unsafe;
18
                     (d) sufficient and competent officers and co-employees were lacking;
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20                   (e) sufficient and safe gear and equipment in proper working order were
21
                     lacking;
22
                     (f) work in progress was being conducted by unsafe methods
23

24                   without adequate supervision;

25   and the vessel was otherwise so unseaworthy as to cumulatively and acutely cause
26
     Plaintiff to sustain injuries, inter alia, to his right shoulder and biceps while dislodging
27

28
     pans frozen to the factory freezers.
     SEAMAN’S COMPLAINT                                            ANDERSON CAREY
     FOR PERSONAL INJURIES                                       WILLIAMS & NEIDZWSKI
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1                                        THIRD CLAIM:
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                                     MAINTENANCE AND CURE

3           15.    Plaintiff realleges and incorporates herein by reference paragraphs 1
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     through 14 set forth above.
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            16.    On or about October 16, 2018, Plaintiff became injured and disabled while
6

7    in the service of the vessel.
8
            17.    Upon Plaintiff's becoming injured and disabled as aforesaid, it became the
9
     duty of Defendants to promptly to pay Plaintiff’s expenses of his maintenance and cure,
10

11   as well as his wages to the end of the period of employment for which Plaintiff was

12   engaged, but said Defendants unreasonably failed and neglected to make full payment
13
     thereof, despite knowledge of Plaintiff's continuing disability.
14

15
            18.    Plaintiff is entitled to maintenance and cure on a continuing basis until such

16   time as he reaches maximum medical improvement. Plaintiff’s injuries required, and will
17
     in the future require, medical care.
18
            19.    By reason of the premises, Plaintiff has been damaged in sums according to
19

20   proof for past and future maintenance and cure and unearned wages, the precise amounts
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     of which are presently unascertained, and Plaintiff prays leave to insert the elements of
22
     damages in this respect when the same are finally determined.
23

24          20.    By reason of said neglect of Plaintiff’s right to cure, Plaintiff was forced to

25   engage the services of counsel and has incurred and will continue to incur attorneys' fees
26
     and expenses for which Plaintiff is entitled to recover.
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1          WHEREFORE, plaintiff Steven Ho prays for judgment against defendants ASMG
2
     and Arctic Storm, Inc. as follows:
3
           1.      For his general damages according to proof;
4

5          2.      For all expenses for health care providers according to proof;
6
           3.      For all loss of income past and future according to proof;
7
           4.      For maintenance and cure according to proof;
8

9          5.      For reasonable attorneys' fees and expenses;
10
           6.      For prejudgment interest according to general maritime law;
11
           7.      For Plaintiff's costs of suit incurred herein; and
12

13         8.      For such other and further relief as this District Court deems just.

14

15
           DATED this 17th day of August, 2021.
16

17
                                          ANDERSON CAREY WILLIAMS & NEIDZWSKI

18
                                          _/s/ Douglas R. Williams_____________________
19
                                          DOUGLAS R. WILLIAMS, WSBA No. 43823
20                                        21 Bellwether Way, Suite 104
                                          Bellingham, WA 98225
21
                                          Telephone: 360-671-6711
22                                        Telefax:      360-647-2943
                                          E-mail:       doug@boatlaw.com
23
                                          Attorneys for Plaintiff
24

25                                        JURY DEMAND
26
           Plaintiff demands trial by jury of all issues in this cause.
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28
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